                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                          CASE NO. 5:24-CV-167-KDB-DCK

 MICHELA BLALOCK and                              )
 CASEY COMBS,                                     )
                                                  )
                Plaintiffs,                       )           PROTECTIVE ORDER
                                                  )
    v.                                            )
                                                  )
 PRUDENTIAL INSURANCE                             )
 COMPANY OF AMERICA and                           )
 PRUCO LIFE INSURANCE COMPANY,                    )
                                                  )
                Defendants.                       )
                                                  )


         THIS MATTER IS BEFORE THE COURT on the parties’ “Joint Motion For Protective

Order Governing Confidential Documents Produced In Discovery” (Document No. 17) filed

February 5, 2025. Having carefully considered the motion and the record, the undersigned will

grant the motion and enter the parties’ proposed Protective Order as follows.

         It is hereby ORDERED by the Court that the following restrictions and procedures shall

 apply to certain information, documents and excerpts from documents supplied by the parties to

 each other in response to discovery requests:

         1.     Counsel for any party may designate any document or information contained in

 a document as confidential if counsel determines, in good faith, that such designation is necessary

 to protect the interests of the client. Information and documents designated by a party as

 confidential will be labeled “CONFIDENTIAL – PRODUCED PURSUANT TO

 PROTECTIVE ORDER.”            “Confidential” information or documents may be referred to

 collectively as “confidential information.”

         2.     Unless otherwise ordered by the Court, or otherwise provided for herein, the

 confidential information disclosed will be held and used by the person receiving such


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 information solely for use in connection with the above-captioned action.

           3.    If upon review any party believes that any materials, information or tangible items

 designated by a designating party are not “Confidential,” then the party may challenge the

 designation by notifying the designating party within fourteen (14) days of completion of

 discovery. The written notice must specifically identify the challenged materials, information

 or tangible items by bates numbered pages where available.

          Within twenty-eight (28) days of completion of discovery, the designating party must then

seek a protective order from the Court for such materials, information, testimony designation, or

tangible items. Failure to file a Motion for Protective Order shall cause such materials,

information, testimony designation, or tangible items to be excluded from the provisions of this

Order. At all times, the designating party bears the burden of proving the materials, information

or tangible items contain information appropriately subject to a Protective Order under Rule 26(c)

of the Federal Rules of Civil Procedure. The filing of a Motion for Protective Order by the

designating party within the time limit set forth above shall preserve the designation of said

materials or items until a ruling by this Court on the Motion for Protective Order or the dismissal of this

action.

           Prior to submitting to this Court disputes regarding confidentiality of materials, the

 parties shall confer and shall report to this Court on the outcome of the conference. Nothing in

 this Protective Order constitutes an admission by any party that confidential information

 disclosed in this case is relevant or admissible. Each party specifically reserves the right to object

 to the use or admissibility of all confidential information disclosed, in accordance with

 applicable law.

           4.     Information or documents designated as “Confidential” shall not be disclosed to

 any person, except:

                  a.      The requesting party and counsel;
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               b.       Employees of such counsel assigned to and necessary to assist in the

                        litigation;

               c.       Consultants or experts to the extent deemed necessary by counsel;

               d.       Any person from whom testimony is taken or is to be taken, except that

                        such a person may only be shown confidential information during and in

                        preparation for his/her testimony and may not retain the confidential

                        information; and

               e.       The Court or the jury at trial or as exhibits to motions.

       5.      Prior to disclosing or displaying the confidential information to any person, counsel

               shall:

               a.       Inform the person of the confidential nature of the information or

                        documents; and

               b.       Inform the person that this Court has enjoined the use of the information

                        or documents by him/her for any purpose other than this litigation and has

                        enjoined the disclosure of that information or documents to any other

                        person.

       6.      The confidential information may be displayed to and discussed with the persons

identified in Paragraph 4(c) and (d) only on the condition that prior to any such display or

discussion, each such person shall be asked to sign an agreement to be bound by this Order in the

form attached as Exhibit A. In the event such person refuses to sign an agreement in the form

attached as Exhibit A, the party desiring to disclose the confidential information may seek

appropriate relief from this Court.

       7.      For the purpose of Paragraphs 4(d) and (e) it is understood by the parties that any

documents which become part of an official judicial proceeding or which are filed with the Court

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are public documents, and that such documents can and will be sealed by the Court only upon

motion and in accordance with applicable law. This Protective Order does not provide for the

automatic sealing of such documents.

        8.      At the conclusion of litigation, the confidential information and any copies

thereof shall be promptly (and in no event later than thirty (30) days after entry of a final judgment

no longer subject to further appeal) returned to the producing party or certified as destroyed.

        9.      The foregoing is entirely without prejudice to the right of any party to apply to

the Court for any further Protective Order relating to confidential information; or to object to

the production of documents or information; or to apply to the Court for an order compelling

production of documents or information; or for modification of this Order.

      SO ORDERED.


                               Signed: February 5, 2025




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AGREED TO BY:

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                                                 EXHIBIT A

                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                          CASE NO. 5:24-CV-167-KDB-DCK


 MICHELA BLALOCK and
 CASEY COMBS,                                                   AGREEMENT TO BE BOUND BY
                                                                 CONFIDENTIALITY ORDER
                   Plaintiffs,

     v.

 PRUDENTIAL INSURANCE
 COMPANY OF AMERICA and
 PRUCO LIFE INSURANCE COMPANY,

                   Defendants.



          I have been informed by counsel that certain documents or information to be disclosed to

me in connection with the matter entitled ____________________________________ have

been designated as confidential. I have been informed that any such document or information

labeled as “CONFIDENTIAL – PRODUCED PURSUANT TO PROTECTIVE ORDER”

are confidential by Order of the Court.

          Under penalty of contempt of Court, I hereby agree that I will not disclose any information

contained in such documents to any other person, and I further agree not to use any such

information for any purpose other than this litigation.


DATED:                                           SIGNED:      ________________________



Signed in the presence of:



(Attorney)


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